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10
                                       UNITED STATES DISTRICT COURT
11
                                    NORTHERN DISTRICT OF CALIFORNIA
12
                                                SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                          )   Case No. CR-15-00226-BLF
                                                        )
15           Plaintiff,                                 )   UNITED STATES’ EXHIBIT LIST
                                                        )
16      v.                                              )
                                                        )   Trial Date:    July 20, 2015
17   DOUGLAS YORK,                                      )   Time:          9:00 a.m.
                                                        )   Courtroom:     Hon. Beth Labson Freeman
18           Defendant.                                 )
                                                        )
19

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21           The United States may offer the exhibits set forth on this Exhibit List at the trial of this case.
22 The government reserves the right to amend this list.

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     UNITED STATES’ EXHIBIT LIST
     CR-15-00226-BLF
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             Case5:15-cr-00226-EJD Document33 Filed07/09/15 Page2 of 2



 1
        Exhibit          DESCRIPTION                 SPONSORING     Date Marked         Date
 2      Number                                         WITNESS           for         Admitted in
                                                                    Identification    Evidence
 3      1         Teltech Systems Inc.
                  (Spoofcard) voice recordings.
 4
        2         Teltech Systems Inc.
 5                (Spoofcard) records.
 6      3         Verizon Wireless records.
                  Restraining or protective
 7      4         orders issued to defendant
 8                Defendant’s conviction
        5         documents and police reports
 9                related to domestic violence,
                  battery or violation of
10                protective orders of Andrea
                  York or Allan Hessenflow.
11                Security camera video footage
        6         from outside Allan
12                Hessenflow’s house.

13      7         Craigslist records pertaining to
                  a posting on 2/24/2012.
14
        8         A photograph of defendant’s
15                Facebook page.
16      10        Allan Hessenflow’s personal
                  log documenting contact with
17                defendant.
18

19 DATED: July 9, 2015                                    Respectfully submitted,

20                                                        MELINDA HAAG
                                                          United States Attorney
21

22                                                               /s/
23                                                        BRIANNA L. PENNA
                                                          JEFF SCHENK
24                                                        Assistant United States Attorneys

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     UNITED STATES’ EXHIBIT LIST
     CR-15-00226-BLF
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